Case 2:21-cv-00270-DOC-AS Document 65 Filed 03/21/22 Page 1 of 10 Page ID #:830




   1                                                                        JS-6
   2
   3
   4
   5
   6
   7
   8
                         UNITED STATES DISTRICT COURT
   9
                        CENTRAL DISTRICT OF CALIFORNIA
  10
  11
  12     In re GTT Communications, Inc.   Master File No. 2:21-cv-00270-DOC-AS
         Securities Litigation
  13
  14                                      CLASS ACTION
  15
         This Document Relates To: All
  16     Actions
  17
  18
  19                          ORDER AND FINAL JUDGMENT
  20
  21
  22
  23
  24
  25
  26
  27
  28

                  ORDER AND FINAL JUDGMENT; No. 2:21-cv-00270-DOC-AS
Case 2:21-cv-00270-DOC-AS Document 65 Filed 03/21/22 Page 2 of 10 Page ID #:831




    1         On the 21st day of March, 2022, a hearing having been held before this Court
    2   to determine: (1) whether the terms and conditions of the Stipulation of Settlement
    3   dated October 29, 2021 (“Stipulation”) are fair, reasonable and adequate for the
    4   settlement of all claims asserted by the Settlement Class against Defendants (as
    5   defined in the Stipulation), including the release of the Released Claims against the
    6   Released Parties, and should be approved; (2) whether judgment should be entered
    7   dismissing this Action with prejudice; (3) whether to approve the proposed Plan of
    8   Allocation as a fair and reasonable method to allocate the Net Settlement Fund
    9   among Settlement Class Members; (4) whether and in what amount to award Lead
   10   Counsel as fees and reimbursement of expenses; and (5) whether and in what
   11   amount to approve an award to the Lead Plaintiff; and
   12         The Court having considered all matters submitted to it at the hearing and
   13   otherwise; and
   14         It appearing in the record that the Notice substantially in the form approved
   15   by the Court in the Court’s Order Granting Lead Plaintiff’s Motion for Preliminary
   16   Approval of Class Action Settlement, dated December 6, 2021 (“Preliminary
   17   Approval Order”) was disseminated to all reasonably identifiable Settlement Class
   18   Members and posted to the website of the Claims Administrator, both in accordance
   19   with the Preliminary Approval Order and the specifications of the Court; and
   20         NOW, THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND
   21   DECREED THAT:
   22         1.      All capitalized terms used herein have the same meanings as set forth
   23   and defined in the Stipulation.
   24         2.      For purposes of this Settlement, the Court has jurisdiction over the
   25   subject matter of the Action, Lead Plaintiff, all Settlement Class Members, and
   26   Defendants.
   27
   28

                                            1
                      ORDER AND FINAL JUDGMENT; No. 2:21-cv-00270-DOC-AS
Case 2:21-cv-00270-DOC-AS Document 65 Filed 03/21/22 Page 3 of 10 Page ID #:832




    1         3.     The Court finds that the prerequisites for a class action under Rule
    2   23(a) and (b)(3) of the Federal Rules of Civil Procedure have been satisfied in that:
    3   (a) the number of Settlement Class Members is so numerous that joinder of all
    4   members thereof is impracticable; (b) there are questions of law and fact common
    5   to the Settlement Class; (c) Lead Plaintiff’s claims are typical of the claims of the
    6   Settlement Class it seeks to represent; (d) Lead Plaintiff fairly and adequately
    7   represents the interests of the Settlement Class; (e) questions of law and fact
    8   common to the members of the Settlement Class predominate over any questions
    9   affecting only individual members of the Settlement Class; and (f) a class action is
   10   superior to other available methods for the fair and efficient adjudication of this
   11   Action. The Settlement Class is being certified for settlement purposes only.
   12         4.     The Court hereby finally certifies this action as a class action for
   13   purposes of the Settlement, pursuant to Rule 23(a) and (b)(3) of the Federal Rules
   14   of Civil Procedure, on behalf of all Persons (including, without limitation, their
   15   beneficiaries) who acquired publicly traded GTT Communications, Inc. securities
   16   during the period from May 5, 2016 through July 30, 2021, inclusive (“Settlement
   17   Class Period”), except that excluded from the Settlement Class are: (a) persons who
   18   suffered no compensable losses; and (b) Defendants; the present and former officers
   19   and directors of the Company at all relevant times; members of their immediate
   20   families and their legal representatives, heirs, successors, or assigns, and any entity
   21   in which any of the Defendants, or any person excluded under this subsection (b),
   22   has or had a majority ownership interest at any time. Also excluded from the
   23   Settlement Class are Persons who filed valid and timely requests for exclusion from
   24   the Settlement Class in accordance with this Preliminary Approval Order, as listed
   25   on Exhibit A to this Final Judgment. Pursuant to Rule 23 of the Federal Rules of
   26   Civil Procedure, Lead Plaintiff is certified as the class representative on behalf of
   27   the Settlement Class (“Class Representative”) and Lead Counsel previously
   28

                                          2
                    ORDER AND FINAL JUDGMENT; No. 2:21-cv-00270-DOC-AS
Case 2:21-cv-00270-DOC-AS Document 65 Filed 03/21/22 Page 4 of 10 Page ID #:833




    1   selected by Lead Plaintiff and appointed by the Court are hereby appointed as Class
    2   Counsel for the Settlement Class (“Class Counsel”).
    3         5.       In accordance with the Court’s Preliminary Approval Order, the Court
    4   hereby finds that the forms and methods of notifying the Settlement Class of the
    5   Settlement and its terms and conditions met the requirements of due process, Rule
    6   23 of the Federal Rules of Civil Procedure, and Section 21D(a)(7) of the Exchange
    7   Act, 15 U.S.C. § 78u-4(a)(7), as amended by the Private Securities Litigation
    8   Reform Act of 1995; constituted the best notice practicable under the
    9   circumstances; and constituted due and sufficient notice of these proceedings and
   10   the matters set forth herein, including the Settlement and Plan of Allocation, to all
   11   persons and entities entitled to such notice. No Settlement Class Member is relieved
   12   from the terms and conditions of the Settlement, including the releases provided for
   13   in the Stipulation, based upon the contention or proof that such Settlement Class
   14   Member failed to receive actual or adequate notice. A full opportunity has been
   15   offered to the Settlement Class Members to object to the proposed Settlement and
   16   to participate in the hearing thereon. Thus, it is hereby determined that all
   17   Settlement Class Members are bound by this Final Judgment except those persons
   18   listed on Exhibit A to this Final Judgment.
   19         6.       The Settlement is approved as fair, reasonable and adequate, and in the
   20   best interests of the Settlement Class. This Court further finds that the Settlement
   21   set forth in the Stipulation is the result of good faith, arm’s-length negotiations
   22   between experienced counsel representing the interests of Class Representative,
   23   Settlement Class Members, and Defendants. The Parties are directed to
   24   consummate the Settlement in accordance with the terms and provisions of the
   25   Stipulation.
   26         7.       The Action and all claims contained therein, as well as all of the
   27   Released Claims, are dismissed with prejudice as against each and all of the
   28

                                             3
                       ORDER AND FINAL JUDGMENT; No. 2:21-cv-00270-DOC-AS
Case 2:21-cv-00270-DOC-AS Document 65 Filed 03/21/22 Page 5 of 10 Page ID #:834




    1   Defendants. The Parties are to bear their own costs, except as otherwise provided
    2   in the Settlement Stipulation.
    3         8.     Upon the Effective Date, the Releasing Parties, on behalf of
    4   themselves, their successors and assigns, and any other Person claiming (now or in
    5   the future) through or on behalf of them, regardless of whether any such Releasing
    6   Party ever seeks or obtains by any means, including without limitation by
    7   submitting a Proof of Claim, any disbursement from the Settlement Fund, shall be
    8   deemed to have, and by operation of this Final Judgment shall have, fully, finally,
    9   and forever compromised, settled, resolved, released, relinquished, waived,
   10   dismissed and discharged all Released Claims against the Released Parties and shall
   11   have covenanted not to sue the Released Parties with respect to any and all Released
   12   Claims, and shall be permanently barred and enjoined from asserting, commencing,
   13   prosecuting, instituting, assisting, instigating, or in any way participating in the
   14   commencement or prosecution of any action or other proceeding, in any forum,
   15   asserting any Released Claim, in any capacity, against any of the Released Parties.
   16   For the avoidance of doubt, Defendants are released from any and all claims for
   17   contribution or indemnity, as would otherwise be allowed by Section 21D of the
   18   Exchange Act, 15 U.S.C. §78u-4(f)(7). Nothing contained herein shall, however,
   19   bar the Releasing Parties from bringing any action or claim to enforce the terms of
   20   the Stipulation or this Final Judgment. Nor shall anything contained herein limit or
   21   release any claims Defendants may have with regard to insurance coverage that may
   22   be available to them under any applicable policy. This release shall not apply to any
   23   Settlement Class Members who timely and properly exclude themselves from the
   24   Settlement Class.
   25         9.     With respect to any and all Released Claims, Class Representative and
   26   the Released Parties shall waive and each of the Settlement Class Members shall be
   27
   28

                                          4
                    ORDER AND FINAL JUDGMENT; No. 2:21-cv-00270-DOC-AS
Case 2:21-cv-00270-DOC-AS Document 65 Filed 03/21/22 Page 6 of 10 Page ID #:835




    1   deemed to have waived, and by operation of this Final Judgment shall have waived,
    2   the provisions, rights, and benefits of California Civil Code § 1542, which provides:
    3                A general release does not extend to claims that the
    4                creditor or releasing party does not know or suspect to
                     exist in his or her favor at the time of executing the release
    5
                     and that, if known by him or her, would have materially
    6                affected his or her settlement with the debtor or released
    7
                     party.

    8         10.    With respect to any and all Released Claims, Class Representative and
    9   the Released Parties shall waive and each of the Settlement Class Members shall be
   10   deemed to have waived, and by operation of this Final Judgment shall have waived,
   11   any and all provisions, rights and benefits conferred by any law of any state,
   12   territory, foreign country or principle of common law, which is similar, comparable
   13   or equivalent to California Civil Code § 1542. Class Representative, the Released
   14   Parties and/or one or more Settlement Class Members may hereafter discover facts
   15   in addition to or different from those which he, she or it now knows or believes to
   16   be true with respect to the Released Claims, but Class Representative, the Released
   17   Parties and each Settlement Class Member, upon the Effective Date, shall be
   18   deemed to have, and by operation of this Final Judgment shall have, fully, finally
   19   and forever settled and released, any and all Released Claims, known or unknown,
   20   suspected or unsuspected, contingent or non-contingent, whether or not concealed
   21   or hidden, which now exist, or heretofore have existed, upon any theory of law or
   22   equity now existing or coming into existence in the future, including, but not limited
   23   to, conduct which is negligent, intentional, with or without malice, or a breach of
   24   fiduciary duty, law or rule, without regard to the subsequent discovery or existence
   25   of such different or additional facts. Class Representative and the Released Parties
   26   acknowledge and the Settlement Class Members shall be deemed by operation of
   27
   28

                                          5
                    ORDER AND FINAL JUDGMENT; No. 2:21-cv-00270-DOC-AS
Case 2:21-cv-00270-DOC-AS Document 65 Filed 03/21/22 Page 7 of 10 Page ID #:836




    1   this Final Judgment to have acknowledged, that the foregoing waiver was separately
    2   bargained for and a key element of the Settlement.
    3         11.    Upon the Effective Date, the Released Parties shall be deemed to have,
    4   and by operation of the Final Judgment shall have, fully, finally, and forever
    5   released, relinquished, and discharged all claims they may have against the
    6   Releasing Parties related to the Releasing Parties’ prosecution of the Action or any
    7   other known or unknown counter-claim related thereto and shall have covenanted
    8   not to sue the Releasing Parties with respect to any counter claim, claim, or sanction
    9   related to the Released Claims, and shall be permanently barred and enjoined from
   10   asserting, commencing, prosecuting, instituting, assisting, instigating, or in any way
   11   participating in the commencement or prosecution of any action or other
   12   proceeding, in any forum, asserting any such claim, in any capacity, against any of
   13   the Releasing Parties. Nothing contained herein shall, however, bar the Released
   14   Parties from bringing any action or claim to enforce the terms of this Stipulation or
   15   the Final Judgment.
   16         12.    The Court finds that all Parties and their counsel have complied with
   17   all requirements of Rule 11 of the Federal Rules of Civil Procedure and the Private
   18   Securities Litigation Record Act of 1995 as to all proceedings herein.
   19         13.    Neither this Final Judgment, the Stipulation (nor the Settlement
   20   contained therein), nor any of its terms and provisions, nor any of the negotiations,
   21   documents or proceedings connected with them is evidence, or an admission or
   22   concession by any Party or their counsel, any Settlement Class Member, or any of
   23   the Released Parties, of any fault, liability or wrongdoing whatsoever, as to any
   24   facts or claims alleged or asserted in the Action or could have been alleged or
   25   asserted, or any other actions or proceedings, or as to the validity or merit of any of
   26   the claims or defenses alleged or asserted or could have been alleged or asserted in
   27   any such action or proceeding. This Final Judgment is not a finding or evidence of
   28

                                          6
                    ORDER AND FINAL JUDGMENT; No. 2:21-cv-00270-DOC-AS
Case 2:21-cv-00270-DOC-AS Document 65 Filed 03/21/22 Page 8 of 10 Page ID #:837




    1   the validity or invalidity of any claims or defenses in the Action, any wrongdoing
    2   by any Party, Settlement Class Member, or any of the Released Parties, or any
    3   damages or injury to any Party, Settlement Class Member, or any Released Parties.
    4   Neither this Final Judgment, the Stipulation (nor the Settlement contained therein),
    5   nor any of its terms and provisions, nor any of the negotiations, documents or
    6   proceedings connected with therewith (a) shall (i) be argued to be, used or construed
    7   as, offered or received in evidence as, or otherwise constitute an admission,
    8   concession, presumption, proof, evidence, or a finding of any, liability, fault,
    9   wrongdoing, injury or damages, or of any wrongful conduct, acts or omissions on
   10   the part of any Released Party, or of any infirmity of any defense, or of any damages
   11   to Class Representative or any other Settlement Class Member, or (ii) otherwise be
   12   used to create or give rise to any inference or presumption against any of the
   13   Released Parties concerning any fact or any purported liability, fault, or wrongdoing
   14   of the Released Parties or any injury or damages to any person or entity, or (b) shall
   15   otherwise be admissible, referred to or used in any proceeding of any nature, for
   16   any purpose whatsoever; provided, however, that this Final Judgment, the
   17   Stipulation, or the documents related thereto may be introduced in any proceeding,
   18   whether in the Court or otherwise, as may be necessary to enforce the Settlement or
   19   Final Judgment, to effectuate the liability protection granted them hereunder, to
   20   support a defense or counterclaim based on principles of res judicata, collateral
   21   estoppel, release, good faith settlement, judgment bar or reduction, offset or any
   22   other theory of claim preclusion or issue preclusion or similar defense or
   23   counterclaim or as otherwise required by law.
   24         14.    Except as otherwise provided herein or in the Stipulation, all funds
   25   held by the Escrow Agent shall be deemed to be in custodia legis and shall remain
   26   subject to the jurisdiction of the Court until such time as the funds are distributed
   27   or returned pursuant to the Stipulation and/or further order of the Court.
   28

                                          7
                    ORDER AND FINAL JUDGMENT; No. 2:21-cv-00270-DOC-AS
Case 2:21-cv-00270-DOC-AS Document 65 Filed 03/21/22 Page 9 of 10 Page ID #:838




    1         15.      Exclusive jurisdiction is hereby retained over the Parties and the
    2   Settlement Class Members for all matters relating to the Action, including the
    3   administration, interpretation, effectuation or enforcement of the Stipulation and
    4   this Final Judgment, and including any application for fees and expenses incurred
    5   in connection with administering and distributing the Settlement Fund to the
    6   Settlement Class Members.
    7         16.      Without further order of the Court, Defendants and Class
    8   Representative may agree to reasonable extensions of time to carry out any of the
    9   provisions of the Stipulation.
   10         17.      There is no just reason for delay in the entry of this Final Judgment
   11   and immediate entry by the Clerk of the Court is expressly directed pursuant to Rule
   12   54(b) of the Federal Rules of Civil Procedure.
   13         18.      The finality of this Final Judgment shall not be affected, in any
   14   manner, by rulings that the Court makes herein on the proposed Plan of Allocation
   15   or Class Counsel’s application for an award of attorneys’ fees and expenses or an
   16   award to Class Representative.
   17         19.      The Court hereby finds that the proposed Plan of Allocation is a fair
   18   and reasonable method to allocate the Net Settlement Fund among Settlement Class
   19   Members, and Class Counsel and the Claims Administrator are directed to
   20   administer the Plan of Allocation in accordance with its terms and the terms of the
   21   Stipulation.
   22         20.      Class Counsel are hereby awarded 30 % of the Settlement Amount in
   23   fees, which the Court finds to be fair and reasonable, and $40,238.30 in
   24   reimbursement of out-of-pocket expenses. Class Representative is hereby awarded
   25   $7,500 which the Court finds to be fair and reasonable. Defendants and the
   26   Released Parties shall have no responsibility for, and no liability whatsoever with
   27
   28

                                             8
                       ORDER AND FINAL JUDGMENT; No. 2:21-cv-00270-DOC-AS
Case 2:21-cv-00270-DOC-AS Document 65 Filed 03/21/22 Page 10 of 10 Page ID #:839




    1   respect to, any payments to Class Counsel, Class Representative, the Settlement
    2   Class and/or any other Person who receives payment from the Settlement Fund.
    3         21.    In the event the Settlement is not consummated in accordance with the
    4   terms of the Stipulation, then the Stipulation and this Final Judgment (including any
    5   amendment(s) thereof, and except as expressly provided in the Stipulation or by
    6   order of the Court) shall be shall have no further force and effect with respect to the
    7   Parties and shall not be used in the Action or in any other proceeding for any
    8   purpose, and any judgment or order entered by the Court in accordance with the
    9   terms of this Stipulation shall be treated as vacated, nunc pro tunc. and each Party
   10   shall be restored to his, her or its respective litigation positions as they existed prior
   11   to August 9, 2021, pursuant to the terms of the Stipulation.
   12
   13
   14   Dated: March 21, 2022                    ______________________________
                                                 HON. DAVID O. CARTER
   15                                            UNITED STATES DISTRICT JUDGE
   16
   17
   18
   19
   20
   21
   22
   23
   24
   25
   26
   27
   28

                                           9
                     ORDER AND FINAL JUDGMENT; No. 2:21-cv-00270-DOC-AS
